Case 1:18-cr-00204-NGG-VMS Document 1043 Filed 06/17/21 Page 1 of 1 PageID #: 19525

                                                       U.S. Department of Justice


                                                       United States Attorney
                                                       Eastern District of New York
   TH                                                  271 Cadman Plaza East
   F. #2017R01840                                      Brooklyn, New York 11201



                                                       June 17, 2021

   By ECF

   The Honorable Nicholas G. Garaufis
   United States District Judge
   United States District Court
   225 Cadman Plaza East
   Brooklyn, New York 11201

                 Re:      United States v. Keith Raniere, et al.
                          Criminal Docket No. 18-204 (S-2) (NGG)

   Dear Judge Garaufis:

                  The government respectfully submits this letter to request an extension until
   June 25, 2021 to submit its supplemental restitution submission as to defendant Keith
   Raniere. The government makes this request because it anticipates receiving, but has not yet
   received, certain materials from victims in this matter relating to restitution. Counsel for
   Raniere has no objection to this request.



                                                       Respectfully submitted,

                                                       MARK J. LESKO
                                                       Acting United States Attorney

                                              By:       /s/ Tanya Hajjar
                                                       Tanya Hajjar
                                                       Assistant U.S. Attorney
                                                       (718) 254-6109

   cc:           Counsel of Record (by ECF)
                                                     Application Granted.
                                                     SO-ORDERED.
                                                    I/s/ Nicholas G. Garaufis, U.S.D.J.
                                                     Hon. Nicholas G. Garaufis
                                                    IL__ __
                                                     Date: June 17, 2021
